                      Case 1:22-mj-00022-RMM Document 1 Filed 02/07/22 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
   Ilya Lichtenstein (AKA: Ilya "Dutch" Lichtenstein, Ilya           )      Case No.
         Likhtenshteyn) (DOB: XXXXXXXX), and                         )
       Heather Rhiannon Morgan (AKA: Razzlekhan)                     )
                    (DOB: XXXXXXXX)                                  )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of         August 2016 to February 2022             in the county of                                 in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                     Offense Description

             18 U.S.C. § 1956(h) (Money Laundering Conspiracy)
             18 U.S.C. § 371 (Conspiracy To Defraud the United States)




         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                   Christopher Janczewski, Special Agent
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH                                                                                                   Robin M. Meriweather
                                                                                                                2022.02.07 11:10:43
Date:             02/07/2022                                                                                    -05'00'
                                                                                                  Judge’s signature

City and state:                         :DVKLQJWRQ'&                      Robin M. Meriweather, U.S. Magistrate Judge
                                                                                               Printed name and title
